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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

 BERKLEY INSURANCE CO., et al.,

                         Plaintiffs,                 Case No. 1:13-cv-1053-RCL

                 v.

 THE FEDERAL HOUSING FINANCE
 AGENCY, et al.,

                         Defendants.

 IN RE FANNIE MAE/FREDDIE MAC
 SENIOR PREFERRED STOCK
 PURCHASE AGREEMENT CLASS                            Case No. 1:13-mc-1288-RCL
 ACTION LITIGATIONS
 _______________________________

 This document relates to:
 ALL CASES


                                       [PROPOSED] ORDER

         Upon consideration of Plaintiffs’ Motion for a Curative Instruction, and any opposition

thereto, and for the reasons stated in Plaintiffs’ motion, it is hereby,

         ORDERED that Plaintiffs’ motion is GRANTED.



Dated:                                                          BY THE COURT:

                                                                __________________________
                                                                Royce C. Lamberth,
                                                                United States District Judge
